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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

SHARON BROOKS,

       Plaintiff,                                     CASE NO. 6:11-CV-00199
v.

H&P CAPITAL, INC.,

      Defendant.
_____________________________________/

                                   NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, SHARON BROOKS, by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

all parties to the present matter are currently in the process of executing the aforementioned

settlement agreement, which Plaintiff anticipates will be completed within the next 30 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.

                                                      RESPECTFULLY SUBMITTED,

                                                  By: /s/ James Pacitti_______
                                                     James Pacitti (FBN: 119768)
                                                      Krohn & Moss, Ltd
                                                     10474 Santa Monica Blvd, Suite 401
                                                      Los Angeles, CA 90025
                                                     Phone: (323) 988-2400 x 230
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                                                     jpacitti@consumerlawcenter.com
                                                     Attorney for Plaintiff



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                                    NOTICE OF SETTLEMENT
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 3, 2011, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Dale E. Workman, Attorney for Defendant, by the Court’s CM/ECF

system.



                                                                /s/ James Pacitti
                                                                James Pacitti
                                                                Attorney for Plaintiff




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                                      NOTICE OF SETTLEMENT
